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                     IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                                   CIVIL NO: 15-cv-1848

VALERIE THOMAS                                )
                                              )
                                              )
                      Plaintiffs,             )
                                              )
       vs.                                    )
                                              )
MERCANTILE ADJUSTMENT                         )          COMPLAINT
BUREAU, LLC.                                  )
                                              )
                      Defendant.              )


                                    INTRODUCTION

       1.       This action arises out of Defendant’s violation of the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).

                              JURISDICTION AND VENUE

       2.       Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which

states that such actions may be brought and heard before “any appropriate United States

district court without regard to the amount in controversy.”

       3.       Defendant conducts business in the state of Minnesota, personal jurisdiction

is established.

       4.       Venue in the United States District Court is proper under 28 U.S.C. §

1391(b)(1).




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                                          PARTIES

       5.       Plaintiffs are natural persons residing in Cosmos, Meeker County,

Minnesota.

       6.       Plaintiffs are allegedly obligated to pay a debt and is a consumer as defined

by 15 U.S.C. § 1692a(3).

       7.       Defendant is a collection agency with its principal place of business in

Williamsville, New York.

       8.       Defendant is a debt collector as defined by 15 U.S.C. § 1692a(6), and

sought to collect a consumer debt from Plaintiffs.

       9.       At all times relevant to this Complaint, Defendant has acted though its

agents, employees, officers, members, directors, heirs, successors, assigns, principals,

trustees, sureties, subrogees, representatives and insurers in the District of Minnesota.

                                   FACTUAL ALLEGATIONS

       10.      In or around September of 2013, Defendant placed collection calls to Plaintiff

seeking and demanding payment for an alleged consumer debt.


       11.      Plaintiff's alleged debt arises from transactions for personal, family, and

   household purposes.


       12.      Defendant called Plaintiff's telephone number at 320-583-25XX.


       13.      In or around September of 2013, Defendant called Plaintiff and left a voicemail

   message on Plaintiff's answering machine. See transcribed voicemail message attached

   hereto as Exhibit A.



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      14.      In the voicemail message, Defendant failed to meaningfully state that the call was

   from a debt collector. See transcribed voicemail message attached hereto as Exhibit A.


      15.      In the voicemail message, Defendant directed Plaintiff to call back telephone

   number 866-851-0083, extension 8272, which is a number that belongs to Defendant. See

   transcribed voicemail message attached hereto as Exhibit A.


      16.      Defendant is using false, deceptive and misleading means in connection with

   attempting to collect a debt by not identifying the purpose of its phone calls or that they are

   an attempt to collect a debt.

                                COUNT ONE:
                      DEFENDANT VIOLATED THE FAIR DEBT
                          COLLECTION PRACTICES ACT

      14.      Defendant’s violations of the FDCPA include, but are not limited to:

            a. Defendant violated §1692e of the FDCPA by using false, deceptive, and
               misleading representations in connection with the collection of any debt,
               and

            b. Defendant violated §1692e(11) of the FDCPA by failing to disclose in
               communications in connection with the collection of a debt that the
               communication was from a debt collector.

                                      PRAYER FOR RELIEF
      WHEREFORE, Plaintiff prays that judgment be entered against Defendant for the
following:
               a. Statutory damages pursuant to 15 U.S.C. § 1692k;
               b. Reasonable attorneys’ fees, costs pursuant to 15 U.S.C. § 1692k; and
               c. Awarding such other and further relief as may be just, proper and
                      equitable.




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                              RESPECTFULLY SUBMITTED

Dated: April 1, 2015          By: /s/ J.D. Haas
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